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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO




 UNITED STATES OF AMERICA,


 Plaintiff(s),
                                                 CRIMINAL NO. 10-138 (GAG)
 v.


 JONATHAN ORTIZ-TORRES,
 ANGEL SANTANA-ESPINET,
 LEROY SANTANA-ROSADO,


 Defendant(s).




                                   MINUTE AND ORDER

       On this date the court received from AUSA Marshal D. Morgan the documentation

submitted by US Attorney Rosa E. Rodriguez Velez to the Assistant Attorney General pertaining to

the US Attorney's recommendation to seek or not to seek the death penalty in this case as to

defendants Jonathan Ortiz Torres and Angel Santana Espinet. The aforementioned documentation

was submitted to the undersigned , ex parte, under seal, as per previous order, as amended (see

docket nos 178 and 182).

       From a detailed examination of the documentation submitted to the Assistant Attorney

General, the undersigned makes the following observations and conclusions:

1. The extensive and detailed documentation submitted to the Assistant Attorney General does not
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reveal, nor suggests the existence of any additional Brady - Giglio - Kyles material, aside from that

already submitted by AUSA Bazan to the defense in a timely manner.

2. The prosecutors in this case (AUSAs Bazan and Vazquez) have not committed any misconduct

by failing to disclose to the defense (and the court) additional exculpatory evidence. To the contrary,

they have fully complied with their duty as officers of this court, as required by the Rules of

Professional Conduct and our Nation's Constitution, as interpreted by the Supreme Court, as well

as by the First Circuit and this Court.

       The Court shall maintain the government's ex parte submission as part of the record in this

case. The same shall remain, sealed in the court's vault, and may only be viewed by the undersigned

and any judges from the Court of Appeals that may eventually have to review this case.




       SO ORDERED

       In San Juan, Puerto Rico this 13th day of December, 2010.




                                                                s/ Gustavo A. Gelpí

                                                               GUSTAVO A. GELPI

                                                            United States District Judge
